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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-0133-TLN

11                         Plaintiff,                    ORDER SEALING DOCUMENTS AS SET FORTH
                                                         IN GOVERNMENT’S NOTICE
12                          v.

13   DEANDREW JORDAN,
     GRANT BROWNING, and
14   ATHANASIOS DIMOU,

15                         Defendants.

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17          Pursuant to Local Rule 141(b), and based upon the representation contained in the Government’s
18 Request to Seal, IT IS HEREBY ORDERED that the government’s three-page supplement to its

19 sentencing memorandum, pertaining to defendant Deandrew Jordan, and the government’s Request to

20 Seal, shall be SEALED until further order of this Court.

21          IT IS FURTHER ORDERED that access to the sealed documents shall be limited to the
22 government and counsel for the defendant.

23          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court for
24 the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in the

25 government’s request, sealing the aforementioned memorandum serves a compelling interest.

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 1          The Court further finds that, in the absence of closure, the compelling interests identified by the

 2 government would be harmed. In light of the public filing of its request to seal, the Court further finds that

 3 there are no additional alternatives to sealing the government’s memorandum that would adequately protect

 4 the compelling interests identified by the government.

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     Dated: June 1, 2017
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 9                                                            Troy L. Nunley
                                                              United States District Judge
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     ORDER TO SEAL SENTENCING                       Page 2 of 2
     DOCUMENTS:
     DEANDREW JORDAN
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